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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

      AMERITAS LIFE INSURANCE CORP.,                                 :
                                                                     :
                      Plaintiff,                                     :
                                                                     :
             v.                                                      : C.A. No. 1:23-cv-00236(GBW)
                                                                     :
      WILMINGTON SAVINGS FUND SOCIETY,                               : JURY TRIAL DEMANDED
      FSB, SOLELY AS SECURITIES                                      :
      INTERMEDIARY,                                                  :
                                                                     :
                      Defendant.                                     :

        MOTION TO MODIFY PRETRIAL DEADLINES IN JOINT SCHEDULING ORDER

           Defendant Wilmington Savings Fund Society, FSB, solely as Securities Intermediary

  (“Securities Intermediary”)1, by and through its undersigned counsel, moves for entry of an order

  modifying the remaining pretrial deadlines in the Joint Scheduling Order (D.I. 17), as modified on

  January 29, 2024 (D.I. 55), April 16, 2024 (D.I. 97) and June 10, 2024 (D.I. 115), by extending

  the deadlines approximately 11 weeks. In support of its motion, Securities Intermediary states as

  follows:

                                                       Introduction

           1.        Securities Intermediary seeks an approximately 11-week extension of the

  forthcoming pretrial deadlines in the Joint Scheduling Order, as modified on January 29, 2024,

  April 16, 2024, and June 10, 2024, so that the parties can complete discovery. See D.I. 17, 55, 97,

  115. Specifically, Securities Intermediary seeks to extend the pretrial deadlines as follows:




  1
    At all times relevant to this case, Wilmington Savings Fund Society, FSB has acted, and continues to act, solely in
  its ministerial capacity as a securities intermediary for an entitlement holder. The Uniform Commercial Code defines
  a securities intermediary as “(i) a clearing corporation; or (ii) a person, including a bank or broker, that in the ordinary
  course of its business maintains securities accounts for others and is acting in that capacity.” U.C.C. § 8-102(a)(14).
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               Event                     Current Deadline                 Proposed Deadline

      Close of fact discovery              October 4, 2024                December 20, 2024

     Affirmative expert reports          November 15, 2024                 January 31, 2025

      Rebuttal expert reports            December 13, 2024                 February 28, 2025

        Reply expert reports              January 10, 2025                  March 28, 2025

      Expert discovery cutoff             January 31, 2025                   April 18, 2025

      Dispositive motions and             February 28, 2025                  May 16, 2025
       Daubert motions due

    Oppositions to dispositive             March 31, 2025                    June 16, 2025
   motions and Daubert motions
               due

    Replies in further support of           April 21, 2025                    July 7, 2025
      dispositive motions and
       Daubert motions due

    Deadline motions in limine               June 6, 2025                   August 22, 2025

        Pretrial conference              November 12, 2025                November 12, 2025

         Jury Trial begins               November 17, 2025                November 17, 2025


         2.      Good cause exists for this extension because, although Securities Intermediary has

  diligently pursued discovery, Ameritas Life Insurance Corp. (“Ameritas”) has repeatedly

  obstructed Securities Intermediary’s ability to take basic discovery relevant to its counterclaims

  and affirmative defenses. Ameritas also has failed to satisfy its obligation to collect and produce

  relevant documents responsive to Securities Intermediary’s requests for production. Much of these

  critical deficiencies in Ameritas’s document collection and production have only come to light in

  the recent weeks through depositions of certain Ameritas witnesses—depositions which

  themselves occurred much later in time than Securities Intermediary desired due to Ameritas’s

  obstruction. The result of Ameritas’s obstruction and failure to satisfy its discovery obligations



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  has been an unexpectedly large number of discovery disputes Securities Intermediary has had to

  submit to the Special Master, including multiple that are currently awaiting ruling by the Special

  Master and several additional disputes that will almost certainly require further motions before the

  Special Master. It also has caused discovery to take substantially longer to complete than it would

  have but for Ameritas’s obstreperous tactics and lack of care and diligence in meeting its discovery

  obligations. Moreover, and perplexingly, despite Ameritas’s refusal to agree to a meaningful

  extension, it just noticed five new depositions in just the last three weeks and has raised a litany of

  discovery issues of its own. Thus, despite Securities Intermediary’s diligence, discovery cannot

  be completed by October 4, 2024. Securities Intermediary’s requested extension—which keeps

  the pretrial conference and trial dates the same—should be noncontroversial, but Ameritas

  opposes it nonetheless and has stated “another two months of discovery is unwarranted.” See

  Declaration of Aaron M. Rubin in Support of this Motion (“Rubin Decl.”) Ex. 1 at 8.2

           3.       Securities Intermediary has been diligently pursuing its discovery, including having

  taken six depositions of Ameritas witnesses on dates dictated by Ameritas’s counsel. 3 However,


  2
    Ameritas has indicated its willingness to agree to only a four-week extension is due to its desire to take certain of
  the depositions it recently noticed, particularly the depositions of BroadRiver personnel Stuart Bryson and David
  Louie (which Securities Intermediary has not objected to as untimely despite Ameritas’s late notice). Ameritas
  claimed it could not agree to any extension before knowing the dates these deponents are available. Ameritas is
  missing the point, and BroadRiver’s counsel has now provided these witnesses’ availability through November (and
  can provide potentially later dates if necessary). While Securities Intermediary will work with Ameritas to schedule
  Messrs. Bryson’s and Louie’s depositions within the extended discovery period, their availability has no bearing on
  the length of the extension because Securities Intermediary requires the requested 11-week extension to complete its
  discovery of Ameritas and Cozen.
  3
    Ameritas has opposed any further depositions, despite Securities Intermediary only having used about 40 hours of
  its deposition time to date. Ameritas baselessly argues these in-person depositions were unduly burdensome and
  harassing because it required Ameritas’s counsel to travel from Philadelphia to Cincinnati twice and to Nebraska once,
  and claims Securities Intermediary’s questioning of the witnesses has focused on irrelevant issues and has been
  abusive and harassing. First, the notion that seeking in-person depositions of Ameritas witnesses in the places they
  are located is unduly burdensome and harassing—in a multi-million-dollar case Ameritas initiated—because it
  requires Ameritas’s counsel to take a few trips is absurd. Second, Securities Intermediary’s questioning has focused
  on relevant issues and Securities Intermediary has not abused, harassed, or yelled at the witnesses. Ameritas is seizing
  on a heated exchange between counsel at the end of one of the depositions—approximately five minutes of the 40
  hours of record time so far—to try to mislead the Court into believing Securities Intermediary’s counsel mistreated
  the witnesses and wasted their time. That is false. Securities Intermediary is submitting with this Motion the full
  transcripts of the six depositions it has taken to date so the Court can draw its own conclusions about whether the


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  several discovery disputes are either pending before the Special Master or in the meet and confer

  process between the parties (and of those, it is becoming apparent many will need to be resolved

  by the Special Master due to Ameritas’s general refusal to provide relevant discovery). These

  discovery disputes include deficiencies in Ameritas’s document production, which Securities

  Intermediary raised on August 26, 2024 after learning of them during the depositions of two

  members of Ameritas’s claims department on August 21 and 22, 2024. Those depositions

  proceeded only after the Special Master ordered Ameritas to produce its claims investigation

  documents on July 16, 2024. See D.I. 121, 134 (unsealed). Securities Intermediary had been

  asking Ameritas to meet and confer about several other deficiencies Securities Intermediary

  identified since August 26, 2024, yet Ameritas ignored several of Securities Intermediary’s emails

  and letters and only engaged in a telephonic meet and confer a few days ago, on Sunday, September

  29, 2024—more than a month after Securities Intermediary requested a meet and confer on some



  depositions have been appropriate and focused on relevant issues . See Rubin Decl. Exs. 3, 4, 13, 14, 15, 16. Suffice
  to say, Ameritas’s counsel’s apparent dislike of one of Securities Intermediary’s counsel is not a valid basis to refuse
  to provide clearly relevant and proportional discovery. Securities Intermediary also is submitting examples of the
  types of inflammatory statements Ameritas’s counsel has made to Securities Intermediary in just the past few weeks
  alone (and these do not capture the off the record personal attacks Ameritas’s counsel has made orally to Securities
  Intermediary’s counsel) simply to show the type of loaded rhetoric and personal attacks Ameritas’s counsel has made
  throughout this litigation. See, e.g., Rubin Decl. Ex. 17 at 7 (Mr. Kelleher: “The attorney-client privilege cannot be
  used to provide misleading or false testimony. That is what your client is doing. And you are facilitating your client
  in this regard, including by sending emails threatening us with sanctions if we don’t play along and allow your client
  to continue to perjure itself and to compromise the integrity of these proceedings.”); id. at 3 (Mr. Burack: “The only
  ethical violation here was your firm’s decision to encourage Mr. Plevin to perjure himself, the decision to allow Mr.
  Plevin’s perjury to stand, and your current threat to triple-down on this impropriety by covering it up.”); id. Ex. 18 at
  5 (Mr. Burack: “I am writing in response to the abusive discovery emails and letters we have received from you and
  your colleagues since at least August 26, 2024. These letters are rife with unfounded accusations of misconduct about
  document productions and depositions and have been sent in a way that is, quite clearly, designed to harass our firm
  and our client.”). Ameritas’s counsel also has engaged in improper “tit-for-tat” discovery tactics, including most
  recently telling Securities Intermediary that it would serve a subpoena it acknowledged is baseless on BroadRiver’s
  outside counsel unless Securities Intermediary stops pursuing a valid, well-founded subpoena against Cozen for
  relevant, non-privileged information concerning Ameritas’s examination of the death claim at issue in this case. See
  Rubin Decl. Ex. 19 at 3 (Mr. Burack: “Because you appear to be pressing forward with this issue, we plan to issue a
  substantively identical subpoena to ArentFox—the firm that conducted BroadRiver’s STOLI investigation. Assuming
  ArentFox objects, we will advise ArentFox that we have issued the subpoena solely to make sure that what’s good for
  the goose is good for the gander. That is, we will tell ArentFox that we do not presently intend to try to enforce the
  subpoena over its objection and that we will only consider doing that to the extent any similar motion you file against
  Cozen is successful.”).


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  of the outstanding issues. During that meet and confer call, Ameritas confirmed the parties were

  at an impasse on certain disputes and, for other disputes, Ameritas requested additional time to

  provide written responses. This is also the case for other document deficiencies Securities

  Intermediary raised with Ameritas on September 3, 2024, which Ameritas has not meaningfully

  (or at all) responded to, preventing Securities Intermediary from raising these disputes with the

  Special Master despite Securities Intermediary’s (“SI”) diligent follow-up, as seen in the following

  chart:


     Outstanding Discovery Disputes Raised                  Status For Resolution
                   with Ameritas
   (1) On August 1, 2024, SI issued a deposition As of September 30, 2024, this is fully briefed
   subpoena to Dennis Peyton. Mr. Peyton was but a hearing has not been set.
   the only person in Ameritas’s claims
   department responsible for deciding whether
   to pay death claims over $1 million, like SI’s
   $3 million death claim under the Policy. Rubin
   Decl. Ex. 3 at 18:18-19:2.

   As noted through Ameritas’s identification of
   Mr. Peyton on initial disclosures and
   interrogatory responses, Mr. Peyton oversaw
   and directed the Ameritas claims department
   as Vice President during the relevant period
   from the insured’s death in November 2022 to
   Ameritas’s decision not to pay SI’s claim and
   filing of this suit in March 2023. See id. Ex. 7
   at 7; id. Ex. 8 at 4-5.

   On August 26, 2024, Dennis Peyton
   (represented by Ameritas’s counsel) filed a
   motion to quash the deposition subpoena in the
   Southern District of Ohio.

   (2) On August 26, 2024, SI noticed a On September 29, 2024, after refusing to meet
   deposition of Rebecca Vonderhaar.           and confer with SI for over a month, Ameritas
                                               stated on a meet and confer call it opposed Ms.
   Ms. Vonderhaar was identified by the Vonderhaar’s deposition and refused to
   Ameritas claims examiner, Scott Foreman, perform any searches for Ms. Vonderhaar’s
   who SI deposed on August 21, 2024 regarding



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   the examination of SI’s death claim under the documents. Accordingly, SI is filing a motion
   Policy. Mr. Foreman testified that when he to compel in the next week.
   was assigned to examine SI’s death claim
   under the Policy, he “was still in training, so
   [he] actually needed approval for – for
   everything that [he] did,” id. Ex. 3 at 19:18-22,
   and “Rebecca Vonderhaar was [his] trainer . . .
   she would basically supervise the whole
   process of a claim with” Mr. Foreman. Id. at
   20:14-19. Ameritas’s 30(b)(6) witness on this
   Policy’s claim, who SI deposed on August 22,
   2024, also failed to speak with either Mr.
   Foreman or Ms. Vonderhaar to prepare for her
   deposition. Id. Ex. 4 at 312:13-313:16.

   On September 3, 2024, SI asked Ameritas to
   run the previously agreed-upon search terms
   for Ms. Vonderhaar because Ameritas had not
   performed any such searches for Ms.
   Vonderhaar’s documents.
   (3) On August 26, 2024, SI requested Ameritas         On September 29, 2024, after refusing to meet
   confirm it will produce written procedures,           and confer with SI for over a month, Ameritas
   guidelines, and standards related to the              stated on a meet and confer call it refused to
   examination of life insurance death claims that       produce any claims examination procedure,
   Ameritas’s witnesses on August 21 and 22,             guideline, or standards documents that its
   2024 testified were located in specific and           witnesses testified about (including testifying
   easily retrievable folders on Ameritas’s              to the specific locations of such documents).
   systems. Id. Ex. 3 at 56:6-57:18; id. Ex. 4 at        Accordingly, SI is filing a motion to compel in
   52:9-53:17.                                           the next week.

   (4) On August 26, 2024, SI requested Ameritas         On September 29, 2024, after refusing to meet
   confirm it will produce the documents and             and confer with SI for over a month, Ameritas
   information related to the Policy that are            stated it refused to search for any of the
   located in specific systems Ameritas’s                requested documents and information,
   witnesses on August 21 and 22, 2024 testified         claiming it was unduly burdensome or
   were used in examining the Policy’s death             disproportionate to do so. However, SI
   claim, including for taking notes and inputting       requested Ameritas’s position in writing on
   comments on the Policy’s claim, all of which          why Ameritas contends this request is unduly
   Ameritas is refusing to produce. Id. Ex. 4 at         burdensome and disproportionate. Ameritas
   150:18-152:18; 278:2-279:4.                           has not provided a written response yet. SI is
                                                         awaiting Ameritas’s written response, but to
                                                         the extent Ameritas refuses to conduct any
                                                         searches for these relevant documents, SI
                                                         intends to file a motion to compel.




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   (5) On August 26, 2024, SI requested Ameritas         On September 29, 2024, after refusing to meet
   confirm it will produce a 2021 memorandum             and confer with SI for over a month, Ameritas
   regarding reviewing death claims for potential        stated it will produce this document and certain
   STOLI, authored by former Ameritas claims             related privilege log entries, however,
   manager Jill O’Connor, which SI learned               Ameritas has not yet produced any documents,
   about after deposing Ameritas’s 30(b)(6)              and it is unclear whether it is refusing to
   witness from the claims department. See id.           produce the related communications to the
   Ex. 4 at 142:4-144:12; 257:5-13. Ameritas             memorandum. SI acknowledges key members
   previously logged this 2021 memorandum on             of Ameritas’s outside counsel team at Cozen
   its privilege log as entry no. 52 and SI              normally responsible for Ameritas’s document
   requested its production with its related             productions are currently observing religious
   communications.                                       holidays, thus SI intends to follow up with
                                                         Ameritas next week on the status of Ameritas’s
                                                         outstanding document production and may
                                                         need to move to compel.

   (6) On August 26, 2024, SI followed up with           On September 29, 2024, the parties met and
   Ameritas on deposition questions about the            conferred about Ameritas not providing the
   issue states of policy claims that Ameritas’s         requested information (the issue state) in
   30(b)(6) claims witness testified were referred       Ameritas’s special interrogatory response
   to Cozen for investigation. At the August 22,         dated September 9, 2024. On October 1, 2024,
   2024 deposition, Ameritas’s 30(b)(6) claims           SI deposed the Ameritas witness who verified
   witness was unprepared and unable to answer           the special interrogatory response. SI intends
   what states these investigated policies were          to continue to meet and confer with Ameritas
   issued in. Id. Ex. 4 at 176:24-177:21. On             next week about Ameritas’s deficient
   September 9, 2024, Ameritas provided a                interrogatory response, including based on the
   special interrogatory response that did not           deposition testimony from October 1, 2024.
   answer SI’s deposition questions to Ameritas’s
   30(b)(6) witness. On September 18, 2024, SI
   requested to meet and confer about Ameritas’s
   deficient response.
   (7) On September 3, 2024, SI requested                On September 29, 2024, Ameritas stated it is
   Ameritas confirm it will search for and               continuing to evaluate this request and SI
   produce the claims examiner Mr. Foreman’s             intends to continue to meet and confer with
   communications related to the approvals for           Ameritas next week about Ameritas’s failure
   the Policy’s claim he testified to having             to collect these relevant documents.
   received from Ms. Vonderhaar. Id. Ex. 3 at
   20:14-19.

   (8) On September 5, 2024, SI followed up with         The parties have exchanged various
   Cozen about SI’s subpoena to Cozen dated              correspondence on this issue. On September
   March 13, 2024 (D.I. 73), which sought                24, 2024, SI wrote its most recent email to
   documents relating to Cozen’s investigation of        Cozen on this dispute but Cozen has yet to
   the Policy’s claim. Ameritas’s interrogatory          respond. See A. Rubin Decl. Ex. 19 at 1-2.
   responses from February 9, 2024 stated that it
   delegated this Policy’s claims investigation to


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   Cozen. See id. Ex. 8 at 6. Accordingly, SI
   sought these claims investigation documents
   from Cozen based on the Special Master’s July
   16, 2024 granting of a motion to compel
   production of Ameritas’s documents, finding
   that “investigations of death benefit claims is
   generally a business function, not legal.” D.I.
   134 at 2. In light of the ruling, which Ameritas
   and Cozen did not appeal, SI followed up with
   Cozen after reviewing Ameritas’s production
   and deposing Ameritas’s claims witnesses on
   August 21 and 22, 2024.              Cozen has
   nevertheless refused to produce any
   documents.

         4.      Some of the issues Securities Intermediary has raised over the past few weeks

  concerning Ameritas’s document production are inexcusable, yet only came to light when

  Securities Intermediary was finally able to start taking depositions. Only through these recent

  depositions, for example, was Securities Intermediary able to learn that Ameritas did not even

  bother to collect documents specific to the Flaks Policy and death claim at issue in this action from

  its administrative systems that it uses to store policy documents. Securities Intermediary also

  learned that Ameritas did not bother to collect the claim examiner’s notes on examining Securities

  Intermediary’s death claim, some of which Ameritas only produced over a month after the claim

  examiner’s deposition. These are not ticky-tacky grievances. These are glaring and inexcusable

  failures by Ameritas to satisfy its basic discovery obligations. As a result, Securities Intermediary

  still has not received core documents relevant to its counterclaims and defenses, let alone had the

  chance to review them and use them in depositions.

         5.      Ameritas also is trying to prevent Securities Intermediary from taking two

  depositions based on information Securities Intermediary learned at the August 21 and 22, 2024

  depositions of Ameritas’s claims personnel. These depositions demonstrated the relevance of

  witnesses Ameritas had identified (or previously identified) in its initial disclosures and



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  interrogatory responses—specifically, Dennis Peyton and Rebecca Vonderhaar—but whom

  Ameritas has refused to allow Securities Intermediary to depose despite the fact Securities

  Intermediary has not come close to the 105 hours the Court afforded each side for depositions. See

  D.I. 17 at 2. Although Securities Intermediary suspected Mr. Peyton and Ms. Vonderhaar were

  the proper witnesses to testify about claims, Securities Intermediary agreed to depose Ameritas’s

  proffered witnesses first. However, Ameritas’s proffered witnesses in the claims department

  consisted of (a) a low-level trainee who testified that his superiors, Mr. Peyton and Ms.

  Vonderhaar, had far more direct knowledge; and (b) a Rule 30(b)(6) representative who was so

  woefully unprepared that she had to read off notes prepared by lawyers. Now, Ameritas is trying

  to end fact discovery before Securities Intermediary can depose Mr. Peyton and Ms. Vonderhaar.

         6.      These discovery disputes remain outstanding through no fault of Securities

  Intermediary. To date, in this case in which $3,000,000 in death benefit and more than $2 million

  in premiums, plus interest, punitive damages, and attorneys’ fees, are at issue involving a time

  period from the mid-2000s to the present, Ameritas has produced only 1,570 documents while

  failing to produce some of the most basic and relevant documents (such as the documents from its

  administrative system and claim examiner’s files), forcing Securities Intermediary to file several

  motions to compel. This has included a motion to compel Ameritas to produce its claims

  investigation documents, which the Special Master granted, and a motion to compel Ameritas to

  collect and produce the files of two deposition witnesses, which Ameritas ultimately agreed to do

  only after opposing the motion and going through a two-and-a-half hour hearing with the Special

  Master. See D.I. 121, 134 (unsealed).

         7.      In addition to all the outstanding discovery Securities Intermediary needs to

  complete, Ameritas itself has noticed five new depositions in the last few weeks. Ameritas




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provided no advance notice that it would be noticing some of these depositions and did not seek

to negotiate the deponents’ availability with Securities Intermediary. This sudden barrage of

deposition notices (which are very clearly a tit-for-tat response to Securities Intermediary’s

legitimate discovery requests) also is at odds with Ameritas’s representation to Securities

Intermediary months ago that its discovery was complete. Despite that Ameritas had not pursued

these depositions for the past year while fact discovery has been ongoing, Ameritas noticed the

five depositions for the last eight business days of discovery (excluding the start of Rosh

Hashanah) when five depositions were already scheduled. There is not enough time under the

current schedule for these Ameritas depositions to take place.       Ironically, when Securities

Intermediary previously wanted to schedule nine depositions in one month, Ameritas refused and

called the request “punitive.” See Rubin Decl. Ex. 11 at 2. Yet, Ameritas has preposterously tried

to force Securities Intermediary to schedule ten depositions in eight business days and refuses to

agree to an 11-week discovery extension. See id. Ex. 1.

       8.      Given that both parties have outstanding discovery that cannot take place prior to

October 4, this request for an extension (which leaves the trial date unchanged) should be

noncontroversial. However, despite serving five deposition notices in the last three weeks of

discovery for depositions that could not feasibly be scheduled before October 4, 2024, Ameritas

opposes Securities Intermediary’s proposed extension of the remaining pretrial deadlines

requested in this motion and Ameritas has stated “another two months of discovery is

unwarranted.” See id. Ex. 1 at 8.

       9.      Ameritas’s reason for opposing Securities Intermediary’s request for a modification

of the Joint Scheduling Order is apparent. After the August 21 and 22, 2024 depositions of two

Ameritas claims witnesses, the details of Ameritas’s withholding of relevant and non-privileged




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documents were revealed and Ameritas now wants to limit Securities Intermediary’s ability to

obtain the discovery at issue in the disputes, including obtaining documents that are relevant to

further depositions Securities Intermediary must take, but which cannot be fully resolved if there

is no extension more than two weeks. After hiding the ball from Securities Intermediary for so

long, and now being caught red handed, Ameritas is trying to run out the clock to prevent Securities

Intermediary from obtaining the discovery it is clearly entitled to.

        10.      Accordingly, good cause exists for this Court to modify the remaining pretrial

deadlines in the Joint Scheduling Order to allow time for (i) the Special Master to address the

remaining disputes, as well as additional disputes both parties are preparing to present to the

Special Master; (ii) Securities Intermediary to receive the large volume of relevant documents

Ameritas still has not produced; and (iii) further depositions thereafter.

                                                Legal Standard

        11.      Fed. R. Civ. P. 16 gives the district courts wide latitude to manage discovery and

other pretrial matters, including setting deadlines. Under Fed. R. Civ. P. 16(b)(4), a schedule may

be modified for “good cause” and with the judge’s consent. “Good cause exists when the schedule

cannot reasonably be met despite the diligence of the party seeking the extension.” TOT Power

Control, S.L. v. Apple Inc., No. 21-1302-MN, 2024 WL 1759152, at *1 (D. Del. Apr. 23, 2024)

(quoting ICU Med., Inc. v. RyMed Techs., Inc., 674 F. Supp. 2d 574, 577 (D. Del. 2009) (finding

good cause and extending fact discovery deadline).4


4
  “In contrast to Rule 15(a), the good cause standard under Rule 16(b) hinges on diligence of the movant, and not on
prejudice to the non-moving party.” ICU Med., 674 F. Supp. 2d at 577-78 (quoting Roquette Freres v. SPI Pharma,
Inc., C.A. No. 06-540-GMS, 2009 WL 1444835, at *4 (D. Del. May 21, 2009). In any event, there is no prejudice to
Ameritas resulting from Securities Intermediary’s requested modification of the Joint Scheduling Order. Securities
Intermediary’s requested 11-week extension does not impact the trial date, and Ameritas is also attempting to raise
new discovery disputes with the Special Master and is only recently noticing new depositions, having agreed in
previous stipulations that pending discovery disputes and remaining depositions constitute good cause for modifying
the Joint Scheduling Order. See D.I. 88. Rather, the only prejudice Ameritas has identified is that it will delay
summary judgment where Ameritas intends to seek a case-dispositive ruling. See Rubin Decl. Ex. 1 at 9. However,


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                                        Procedural and Discovery History

        12.      Ameritas filed the Complaint in this action on March 3, 2023. D.I. 1. In the

Complaint, Ameritas seeks a declaration that a life insurance policy (the “Policy”) issued in 2007

and insuring the life of Marvin Flaks (the “Insured”) is void ab initio for lack of insurable interest

and that Ameritas need not pay the death benefit to Securities Intermediary. See id. Ameritas

alleges the Policy was part of program run by an entity called Ocean Gate. See id. ¶ 44.

        13.      Securities Intermediary filed its Answer, Affirmative Defenses, and Counterclaims

against Ameritas on April 13, 2023. D.I. 13. Securities Intermediary pleads claims for breach of

contract, breach of the covenant of good faith and fair dealing, bad faith, unjust enrichment (in the

alternative), and fraud. See id. Securities Intermediary alleges Ameritas knew all the facts relevant

to the Policy for years, yet continued to represent to the Policy owners that the Policy was in force

while collecting millions of dollars in premiums. See id. Then, after the Insured died and

Securities Intermediary submitted a claim for the death benefit, Ameritas claimed the Policy was

void for lack of insurable interest and now seeks to withhold the $3 million death benefit while

keeping over $2 million in premiums it pocketed over the past 15 years. See id.

        14.      The parties submitted the Joint Rule 26(f) report and proposed discovery plan on

June 15, 2023 (D.I. 16), and the Court issued the initial Joint Scheduling Order on July 13, 2023

(D.I. 17). Under the Joint Scheduling Order, inter alia, each side is entitled to 105 hours of taking

testimony by deposition upon oral examination. See D.I. 17 ¶ 3(e).

        15.      Following service of Rule 26(a) Initial Disclosures on July 28, 2023 (D.I. 20, 21),5

Securities Intermediary moved diligently to take discovery from Ameritas, serving its First Set of



under Securities Intermediary’s proposal summary judgment would still proceed—just 11 weeks later—and it would
be fully briefed by July 7, 2025, which is over four months before the start of trial.
5
  Consistent with Ameritas’s attempts to impede Securities Intermediary’s discovery throughout this case, Ameritas’s
first Rule 26(a) Initial Disclosures did not disclose any Ameritas witnesses, improperly identifying only “Corporate


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Requests for Production on August 9, 2023 (D.I. 22). Ameritas served its Responses and

Objections to Securities Intermediary’s First Set of Requests for Production on September 8, 2023.

D.I. 25. As to most of the requests, including requests for documents related to any inquiry or

investigation conducted by Ameritas related to the Policy or the death benefit claim, Ameritas

agreed to produce all responsive, non-privileged documents. Rubin Decl. Ex. 6 at 6-7.

         16.      Ameritas, however, did not adhere to its discovery obligations (or its own

responses) in good faith, as Securities Intermediary would later learn. On September 21, 2023,

Ameritas identified fourteen custodians whose documents it would search, which it claimed were

the proper custodians for responsive documents. But this resulted in Ameritas initially producing

only 1,484 total documents for the time period since Ameritas issued the Policy in 2007. This is

a fraction of the 3,895 documents Securities Intermediary produced to date despite BroadRiver

only taking ownership of the Policy in 2020.

         17.      When Securities Intermediary received Ameritas’s responses to Securities

Intermediary’s interrogatories on February 9, 2024, it became clear why Ameritas had produced

almost no documents.             The interrogatories identified several individuals with responsive

documents whom Ameritas had not identified as custodians. See D.I. 85 at 2. For example, in

identifying “all Persons with knowledge relating to Ameritas’s decision not to pay the death benefit

under the Policy”—the crux of this case—Ameritas identified eight individuals, as well as




Representative of Ameritas.” See Rubin Decl. Ex. 5 at 6. After Securities Intermediary objected, Ameritas provided
amended Rule 26(a) Initial Disclosures on September 21, 2023, identifying only three witnesses: Kelly Halverson,
Dennis Peyton, and Scott Farmen. See id. Ex. 7 at 7. Nevertheless, and as discussed in more detail below, Ameritas
has objected to making Mr. Peyton available for deposition, only removing Mr. Peyton from its second amended Initial
Disclosures on August 26, 2024. See id. Ex. 12. Ameritas’s counsel, after stating it would move for a protective order
in front of the Special Master, forced Securities Intermediary to file a motion to compel the deposition with the Special
Master, then claimed Mr. Peyton had not consented to jurisdiction, resulting in Ameritas’s counsel only filing its
motion to quash Mr. Peyton’s deposition in the Southern District of Ohio on August 26, 2024. Securities Intermediary
filed its opposition with the Southern District of Ohio on September 16, 2024, Ameritas filed a reply on September
30, 2024, and the motion is pending.


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“[i]individuals at Cozen O’Connor.” See Rubin Decl. Ex. 8 at 4-5. Ameritas had initially, and

inexcusably, identified only one of these individuals on its custodian list.6 See D.I. 85 at 3.

         18.      Securities Intermediary therefore asked Ameritas to run the parties’ agreed-upon

search terms for these newly-identified individuals. This was a seemingly uncontroversial request.

Yet, Ameritas has demonstrated a penchant for making controversy out of even the most mundane

requests, and true to form, following various meet and confer discussions, Ameritas refused to

search any of these custodians’ files, forcing Securities Intermediary to file a joint letter with the

Court to request a discovery teleconference. The parties filed this joint letter on March 28, 2024,

and the issue was fully briefed as of April 8, 2024. The Special Master held a hearing on this

dispute on June 6, 2024, and only then did Ameritas agree to run the full set of search terms on

two custodians in the claims department, who Securities Intermediary deposed on August 21 and

22, 2024. After these depositions, Securities Intermediary identified further glaring deficiencies

in Ameritas’s document collection and production and raised them with Ameritas on August 26,

2024. Moreover, on August 26, 2024, Securities Intermediary noticed a deposition of Ameritas

Lead Claims Team Resource Manager Rebecca Vonderhaar, a deposition SI determined was

necessary after taking the August 21 and 22, 2024 depositions of Ameritas claims employees

because the depositions revealed Ms. Vonderhaar has relevant and non-duplicative personal

knowledge related to the Policy’s claim, a topic central to this suit that Ameritas initiated by

refusing to pay the $3 million claim.

         19.      After Ameritas served its interrogatory responses on February 9, 2024 and amended

its privilege log on March 11, 2024, Securities Intermediary confirmed that Ameritas had referred


6
  This one overlapping individual is Dennis Peyton, who was also listed on Ameritas’s Rule 26(a) Amended Initial
Disclosures. However, as noted in footnote 5, Ameritas’s counsel moved for a protective order in the Southern District
of Ohio to prevent Securities Intermediary from deposing Mr. Peyton on August 26, 2024, Securities Intermediary
filed its opposition on September 16, 2024, Ameritas filed a reply on September 30, 2024, and the motion is pending.


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the investigation of the death benefit claim on the policy at issue in this case to its attorneys and

had withheld the investigation and claims decision documents as privileged. As the investigation

of claims is a business function of insurance companies and factual in nature, Securities

Intermediary demanded Ameritas produce these documents as well. Ameritas refused. This

dispute was therefore included in the parties’ March 28, 2024 joint letter and April 8, 2024 briefing.

The Special Master granted Securities Intermediary’s motion on July 16, 2024, finding that

“investigations of death benefit claims is generally a business function, not legal.” D.I. 134 at 2.

On September 6, 2024, Ameritas raised for the first time that it believed BroadRiver should also

produce investigative documents despite BroadRiver not having a business function of reviewing

life insurance claims (as Ameritas does). BroadRiver’s counsel provided its timely response to

Ameritas’s demand on September 11, 2024, and on September 19, 2024, Ameritas responded that

it intends to raise this as a motion to compel with the Special Master.

       20.      Securities Intermediary also has pending disputes with Cozen itself. Specifically,

long before Cozen filed this lawsuit, Cozen issued opinion letters on behalf of Ocean Gate to

prospective buyers of life insurance policies that Ocean Gate had acquired, including the Policy at

issue in this case. Those letters opined that such policies, including the Policy, satisfied insurable

interest requirements and specifically stated “that this opinion letter may be furnished to, and relied

upon by, your successors and permitted assigns in connection with the transactions described

herein.”     See, e.g., Rubin Decl. Exs. 9, 10.        The current owner of the Policy is such a

successor/assignee. Today, however, Cozen has taken the exact opposite position and claims that

the Policy, which was the subject of Cozen’s opinion letters, is void for lack of insurable interest.

Securities Intermediary served a subpoena on Cozen on December 6, 2023 (D.I. 44) seeking

relevant documents related to these opinion letters. Cozen refused to produce any documents.




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Securities Intermediary and Cozen submitted a joint letter to the Court regarding this dispute on

January 26, 2024, and in accordance with D.I. 108 the Special Master held a hearing on this dispute

(D.I. 140) in addition to a motion to compel Ameritas’s production of documents (D.I. 141) on

September 12, 2024.

       21.     On September 17, 2024, Securities Intermediary proposed extending the pretrial

schedule as described in this motion for the reasons identified herein. See Rubin Decl. Ex. 2 at 9-

10. On September 19, 2024, Ameritas responded by noticing a 30(b)(6) deposition of Securities

Intermediary (which Ameritas had not given any advance notice of intending to do)—in addition

to the four other new depositions Ameritas noticed on September 13—while at the same time

stating it opposes extending the pretrial deadlines. Id. at 7-8. The parties met and conferred

telephonically on September 29, 2024 (despite Securities Intermediary’s numerous requests for an

earlier meet and confer call). Ameritas acknowledged an extension is warranted but Ameritas’s

proposed four-week extension is far from enough time considering the outstanding discovery

disputes. See id. Ex. 1 at 2-5.

       22.     Additionally, since September 19, 2024 and as of the parties’ September 29, 2024

meet and confer teleconference, Ameritas has indicated it intends to pursue even more discovery

from Securities Intermediary and BroadRiver, some of which it claims will require briefing before

the Special Master. These include a motion to compel a deposition of BroadRiver’s co-CEO and

further requests for document productions from BroadRiver, in addition to seeking several

depositions BroadRiver is agreeing to provide but which cannot occur during the current discovery

period due to five other depositions already scheduled for the same period of time, in addition to

one witness at BroadRiver who is unavailable for deposition until January 2025.




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       23.     The foregoing constitutes good cause for a modification of the pretrial deadlines.

The parties are not in a position to complete fact discovery by October 4, 2024 in light of the

various pending discovery disputes, some of which the parties are continuing to meet and confer

about and in light of the five deposition notices Ameritas issued between September 13 and 19,

2024. Securities Intermediary has diligently pursued discovery, but it is apparent the parties need

additional time to complete fact discovery in an efficient and orderly fashion.

       24.     The parties have previously stipulated to two extensions of deadlines. On January

25, 2024, the parties stipulated to a three-month extension of the deadlines in the Joint Scheduling

Order (which this Court so ordered on January 29, 2024), but noted that additional time was needed

to resolve disputes over the parties’ document productions and to ensure that there is time for all

fact witness depositions to take place. See D.I. 50, 55 ¶ 6. The parties stipulated to a second, two-

month extension of deadlines on April 11, 2024, which this Court so-ordered on April 16, 2024.

See D.I. 88, 97. One of the purposes of the parties’ stipulated extension was to “allow the Parties

sufficient time for the discovery disputes to be resolved and to complete fact witness depositions.”

See D.I. 88, 97 ¶ 4. Discovery disputes about documents and fact witness depositions remain

outstanding, and both Securities Intermediary and Ameritas acknowledged that they constituted

good cause for an extension of the remaining pretrial deadlines in the case. Id.

       25.     Separately, on June 5, 2024, Securities Intermediary moved for an additional three-

month extension of pretrial deadlines in the joint scheduling order, to which Ameritas did not

agree. D.I. 110. This Court granted Securities Intermediary’s requested extension. See D.I. 115.

       26.     For the forgoing reasons, there is good cause for an approximately 11-week

extension of the forthcoming pretrial deadlines in the Joint Scheduling Order (D.I. 17). Securities

Intermediary believes that extending the deadline for completion of fact discovery to December




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20, 2024 will allow sufficient time for the Special Master to decide pending discovery disputes

and hear upcoming disputes, for the discovery disputes to be resolved, for additional documents

to be produced, and for the parties to complete all the depositions currently noticed. Moreover,

the proposed extension would not disturb the trial date. Cf. Vitaworks IP, LLC v. Glanbia

Nutritionals (NA), Inc., No. 19-2259-GBW, 2023 WL 4532540, at *2 (D. Del. July 13, 2023)

(Williams, J.) (“The Court observes that Vitaworks’ Proposed Order to Extend Deadlines—which

would have modestly extended fact discovery by less than two months, extended the deadline for

dispositive and Daubert motions by one week, and does not disturb either trial date—sets forth the

type of solution this Court expects parties to resolve without judicial intervention. But QYP

opposed that solution without substantive explanation, appearing to hold Vitaworks to a fact

discovery deadline that QYP appears to be at least partially responsible for straining.”).

       27.     To align the other deadlines in the Joint Scheduling Order with any such an

extension, the Securities Intermediary seeks an 11-week extension of the other pretrial deadlines

as well. Securities Intermediary believes the dates for the pretrial conference and start of trial can

remain unchanged to accommodate this extension. Again, Securities Intermediary seeks to extend

the pretrial deadlines as follows:


             Event                       Current Deadline                 Proposed Deadline

    Close of fact discovery               October 4, 2024                 December 20, 2024

   Affirmative expert reports           November 15, 2024                  January 31, 2025

     Rebuttal expert reports            December 13, 2024                  February 28, 2025

      Reply expert reports                January 10, 2025                  March 28, 2025

    Expert discovery cutoff               January 31, 2025                   April 18, 2025




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    Dispositive motions and             February 28, 2025                  May 16, 2025
     Daubert motions due

  Oppositions to dispositive             March 31, 2025                    June 16, 2025
 motions and Daubert motions
             due

  Replies in further support of          April 21, 2025                     July 7, 2025
    dispositive motions and
     Daubert motions due

  Deadline motions in limine              June 6, 2025                   August 22, 2025

      Pretrial conference              November 12, 2025                November 12, 2025

       Jury Trial begins               November 17, 2025                November 17, 2025


                                           Conclusion

       28.     For these reasons, Securities Intermediary respectfully requests entry of the order

filed with this motion modifying the pretrial deadlines in the Joint Scheduling Order.



 Dated: October 4, 2024                           K&L GATES LLP

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